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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                          )
 GRACE, et al.                            )
                                          )
               Plaintiffs,                )
                                          )
 v.                                       )        Civil Action No. 1:18-cv-01853-EGS
                                          )
 MATTHEW G. WHITAKER, in his              )
 Official capacity as Acting Attorney     )
 General of the United States, et al.,    )
                                          )
               Defendants.                )
                                          )

   DEFENDANTS’ MOTION FOR A STAY OF PARAGRAPH 5 OF THE COURT’S
 PERMANENT INJUNCTION ORDER IN LIGHT OF LAPSE OF APPROPRIATIONS

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                                         Director

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Dated: December 26, 2018                 Attorneys for Defendants
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        MOTION FOR A STAY OF PARAGRAPH 5 OF THE COURT’S
 PERMANENT INJUNCTION ORDER IN LIGHT OF LAPSE OF APPROPRIATIONS

       The United States of America hereby moves for a stay of the deadlines in paragraph 5 of

the Permanent Injunction Order in the above-captioned case.

       1.      At the end of the day on December 21, 2018, the appropriations act that had been

funding the Department of Justice expired and appropriations to the Department lapsed. The

same is true for several other Executive agencies, including the federal Defendants. The

Department does not know when funding will be restored by Congress.

       2.      Absent an appropriation, Department of Justice attorneys and employees of the

federal Defendants are prohibited from working, even on a voluntary basis, except in very

limited circumstances, including “emergencies involving the safety of human life or the

protection of property.” 31 U.S.C. § 1342.

       3.      Undersigned counsel for the Department of Justice therefore requests a stay of the

meet and confer deadline in paragraph 5 of the Court’s Permanent Injunction Order until

Congress has restored appropriations to the Department.

       4.      If this motion for a stay is granted, undersigned counsel will notify the Court as

soon as Congress has appropriated funds for the Department. The Government requests that, at

that point, all current deadlines for the parties be extended commensurate with the duration of the

lapse in appropriations.

       5.      Opposing counsel has informed counsel for the Government that the Plaintiffs

take no position on this motion.

       Therefore, although we greatly regret any disruption caused to the Court and the other

litigants, the Government hereby moves for a stay of paragraph 5 of the Court’s Permanent

Injunction Order in this case until Department of Justice attorneys are permitted to resume their
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usual civil litigation functions.

                                          Respectfully submitted,

                                          JOSEPH H. HUNT
                                          Assistant Attorney General

                                          WILLIAM C. PEACHEY
                                          Director

                                          EREZ REUVENI
                                          Assistant Director

                                    By:   /s/ Christina P. Greer
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Dated: December 26, 2018                  Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 26, 2018, I electronically filed the foregoing document

with the Clerk of the Court for the United States Court of for the District of Columbia by using the

appellate CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the appellate CM/ECF system.


                                       By:    /s/ Christina P. Greer
                                              CHRISTINA P. GREER
                                              Trial Attorney
                                              United States Department of Justice
                                              Civil Division
